UNITED STATES OF AMERICA,

SUSAN GILBERT, SAM HALPER, EVA
HAMILTON, MICHELLE ROMEO,
JOHNNA HALLER, COMPREHENSIVE
HEALTHCARE MANAGEMENT
SERVICES, LLC, d/b/a Brighton
Rehabilitation and Wellness Center, and MT.
LEBANON OPERATIONS, LLC d/b/a
Mount Lebanon Rehabilitation and Wellness
Center

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

VS.

Criminal No. 21-79-RJC

Judge Robert J. Colville

VERDICT SLIP

We the Jury, following due deliberation in the above matter, unanimously return the following

verdict:

1.

We the Jury find the Defendant Sam Halper:

Guilty _-<~___ Not Guilty.

As to Count 1, charging Defendants Sam Halper and Eva Hamilton with conspiring to
defraud the United States by obstructing and interfering with the lawful governmental
functions of the Centers for Medicare and Medicaid Services (CMS), a federal agency
within the United States Department of Health and Human Services, in violation of Title
18, United States Code, Section 371,

We the Jury find the Defendant Eva Hamilton:

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Guilty xX Not Guilty
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2. As to Count 2, charging Defendants Brighton Rehabilitation and Wellness Center, Sam
Halper and Eva Hamilton with falsifying, concealing or covering up by trick, scheme or
device material facts in connection with the delivery of or payment for health care
benefits, in violation of Title 18, United States Code, Section 1035,

We the Jury find the Defendant Brighton Rehabilitation and Wellness Center:

X Guilty Not Guilty

We the Jury find the Defendant Sam Halper:

Guilty \__ Not Guilty
We the Jury find the Defendant Eva Hamilton:
Guilty ‘Not Guilty

3. As to Counts 3 through 7, charging Defendants Brighton Rehabilitation and Wellness
Center and Eva Hamilton with knowingly falsifying and making false statements in
staffing records with the intent to impede, obstruct, or influence the investigation or proper
administration of a matter within the jurisdiction of CMS, an agency of the United States,
in violation of Title 18, United States Code, Section 1519,

As to Count 3 (dated 7/18/2018):
We the Jury find the Defendant Brighton Rehabilitation and Wellness Center:

XL _ Guilty Not Guilty
We the Jury find the Defendant Eva Hamilton:

Guilty <Not Guilty
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As to Count 4 (dated 7/30/2018):
We the jury find the Defendant Brighton Rehabilitation and Wellness Center:

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A Guilty Not Guilty
We the Jury find the Defendant Eva Hamilton:
Guilty % Not Guilty

As to Count 5 (dated 4/1/2019):
We the jury find the Defendant Brighton Rehabilitation and Wellness Center:

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XK Guilty Not Guilty
We the Jury find the Defendant Eva Hamilton:
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Guilty ‘A Not Guilty

As to Count 6 (dated 9/8/2019):
We the jury find the Defendant Brighton Rehabilitation and Wellness Center:

> Guilty Not Guilty

We the Jury find the Defendant Eva Hamilton:

Guilty >< _ Not Guilty
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As to Count 7 (dated 1/22/2020):
We the jury find the Defendant Brighton Rehabilitation and Wellness Center: .

x Guilty Not Guilty
We the Jury find the Defendant Eva Hamilton:
Guilty _><__ Not Guilty

4. As to Count 8, charging Defendant Susan Gilbert with conspiring to defraud the United
States by obstructing and interfering with the lawful governmental functions of CMS, a
federal agency within the United States Department of Health and Human Services, in
violation of Title 18, United States Code, Section 371,

We the Jury find the Defendant Susan Gilbert:

Guilty x Not Guilty

5. As to Count 9, charging Defendants Mount Lebanon Rehabilitation and Wellness Center
and Susan Gilbert with falsifying, concealing or covering up by trick, scheme or device
material facts in connection with the delivery of or payment for health care benefits, in
violation of Title 18, United States Code, Section 1035,

We the Jury find the Defendant Mount Lebanon Rehabilitation and Wellness Center:

a Guilty Not Guilty

We the Jury find the Defendant Susan Gilbert:

Guilty x Not Guilty
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6. As to Counts 10 through 12, charging Defendants Mount Lebanon Rehabilitation and
Wellness Center and Susan Gilbert with knowingly falsifying and making false statements
in staffing records with the intent to impede, obstruct, or influence the investigation or
proper administration of a matter within the jurisdiction of CMS, an agency of the United
States, in violation of Title 18, United States Code, Section 1519,

As to Count 10 (dated 11/13/2019):

We the Jury find the Defendant Mount Lebanon Rehabilitation and Wellness Center:

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A Guilty Not Guilty

We the Jury find the Defendant Susan Gilbert:

Guilty > Not Guilty

As to Count 11 (dated 1/3/2020):
We the Jury find the Defendant Mount Lebanon Rehabilitation and Wellness Center:

x Guilty Not Guilty
We the Jury find the Defendant Susan Gilbert:
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Guilty x Not Guilty

As to Count 12 (dated 2/20/2020):
We the Jury find the Defendant Mount Lebanon Rehabilitation and Wellness Center:

x Guilty Not Guilty
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We the Jury find the Defendant Susan Gilbert:
Guilty x Not Guilty

7. Asto Count 14, charging Defendants Sam Halper, Michelle Romeo and Johnna Haller
with conspiracy to commit health care fraud, in violation of Title 18, United States Code,
Section 1349,

We the Jury find the Defendant Sam Halper:

Guilty x Not Guilty

We the Jury find the Defendant Michelle Romeo:

Guilty » Not Guilty

We the Jury find the Defendant Johnna Haller:

Guilty _X Not Guilty

8. As to Count 15, charging Defendants Michelle Romeo and Johnna Haller with knowingly
and willfully executing and attempting to execute a scheme and artifice to defraud
Medicare and Medicaid, and to obtain or cause to be obtained, by means of materially
false and fraudulent pretenses, representations and promises, money under the custody and
control of Medicare and Medicaid in connection with the delivery of, and payment for,

health care benefits and services, in violation of Title 18, United States Code, Section
1347,

We the Jury find the Defendant Michelle Romeo:

Guilty “Not Guilty
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We the Jury find the Defendant Johnna Haller:

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VS
Guilty 7 \ Not Guilty

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Pittsburgh, Pennsylvania 4) Foreperson

